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                                                     Respectfully submitted,

                                                     JOSHUA S. LEVY
                                                     Acting United States Attorney


                                              By:    /s/ Kristen A. Kearney
                                                     KRISTEN A. KEARNEY
       Date: August 23, 2024                         Assistant U.S. Attorney




                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Kristen A. Kearney
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